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UNITED STATES DISTRICT COURT
DISTRICT OF OREGON

EUGENE DIVISION
RUFF WEAR, INC., an Oregon corporation, | Case No. 6:14-cv-00376-MC

Plaintiff,
Vv. STIPULATION OF DISMISSAL
ORIGINAL DOG GEAR APS,
Defendant.

 

The parties to this action, through their undersigned attorneys, do hereby |
stipulate and agree to the dismissal of this action, without prejudice, pursuant to FRCP

44(a)(I(A) (iD.

The parties shall bear their own costs and attorneys’ fees, and neither party shall

be deemed a prevailing party for any purpose.

 

 

 

FRANCIS HANSEN.& MARTIN LLP LUNSFORD LEGAL GROUP:
Martin E. Hansen, OSB #80052 “Coren Lunsford, SBN #213966

Of Attorneys for Plaintiff Of Attorneys for Defendant

Dated: Maax24,Ze\4¢ Dated: (May ZO, ROIY

1 of 2--STIPULATION OF DISMISSAL

 

 

 
 

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DATED this 19" day of May 2014.

2 of 2— STIPULATION OF DISMISSAL

FRANCIS HANSEN & MARTIN LLP

/s{ Martin E. Hansen
MARTIN E. HANSEN, OSB #800526
Attorney for Plaintiff

 

 
